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                    Exhibit C-43
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New online graduate courses
University of Delaware to launch online graduate programs

4:26 p.m., June 8, 2015--With 36 UD graduate programs ranked by U.S. News and World Report — 16 of them ranked in the top 50, the
University of Delaware is set to expand the reach of its highly regarded graduate programs. Now the University will open its doors to in-
career professionals through new online degree programs.

Data suggest busy professionals seek advancement through education, but have little time to spend inside the classroom, so making virtual
seats available was a natural solution. In collaboration with Wiley Education Solutions (formerly Deltak), a leader in the online services
market, the University of Delaware expects to launch new online courses at the start of the 2016 spring semester.

UD’s new endeavor into the online market with Wiley will begin with four master’s degree programs: electrical and computer engineering,
cybersecurity, public administration, and teacher leadership. After launching its four initial programs, the University plans to expand with
three new programs each year until it reaches a solid portfolio of about 24 degree offerings.

“This was a carefully thought-out process made in collaboration with a 12-person task force, the provost and the Board of Trustees,”
explained Vice Provost for Graduate and Professional Education Jim Richards. “We covered a lot of bases to ensure we could offer the same
quality of education in our virtual classrooms as we do here on campus.”

In August 2014, a University-wide task force consisting of deans, chairs, Faculty Senate representatives, faculty and staff was created to
identify an online service provider to partner with UD. After careful review and soliciting direct feedback — including contacting some of the
nearly 40 colleges and universities with which Wiley currently partners — invitations were extended to two vendors to make on-campus
presentations to key stakeholders.

After those visits, the task force recommended Wiley, which has nearly 20 years of experience in providing online services to colleges and
universities. The provost signed a master services agreement that was later approved by the executive committee of the Board of Trustees.

As part of the agreement, Wiley’s responsibilities comprise marketing research, preparation of marketing materials, recruitment and lead
generation, student support, admissions coordination, instructional design, accreditation, faculty training and support.

“This partnership with Wiley is important because they have the capability to aggressively market our programs in ways that will enable us
to expand our reach and deepen our impact on the professions,” noted Deputy Provost for Academic Affairs Nancy Brickhouse.

“We bring a combination of nearly 20 years of experience, expertise and a focus on quality to the University of Delaware partnership,” said
Wiley Vice President of Operations Matt Hillman. “Additionally, Wiley’s solid financial foundation and global footprint make us uniquely
positioned to help the University of Delaware achieve both near- and long-term student recruitment, enrollment, retention and graduation
objectives.”

The first courses are expected to launch at the start of the 2016 spring semester. Course sessions will last seven weeks: two seven-week
sessions in the fall, two sessions in the spring and one session in the summer.

“Wiley also will provide staff to support students along the way and help us spot when a student is having trouble and may need academic
intervention,” said Richards. “That gives our faculty tools to be more effective in their teaching.”

“This is an exciting opportunity to be part of our efforts to bring education that has the qualities that UD has always stood for to new groups
of people,” said John McNutt, a professor in the school of Public Policy and Administration.

“I’m looking forward to bringing what I learn teaching online to my traditional classes.”

Online Task Force

The University of Delaware Online Task Force consisted of the following members: Jim Richards, vice provost for graduate and
professional education; Nancy Brickhouse, deputy provost for academic affairs; Ralph Ferretti, director, School of Education; Carl
Jacobson, vice president, information technologies; Bruce Weber, dean, Lerner College of Business and Economics; Jack Baroudi,
associate dean of graduate and executive programs, Lerner College of Business and Economics; Kathy Dettloff, chief budget officer; Mark
Rieger, dean, College of Agriculture and Natural Resources; Ken Barner, chair, Department of Electrical and Computer Engineering;
Don Lehman, associate professor of medical laboratory sciences; Paul Rickards, deputy chief information officer; and James
Broomall, associate vice provost, Division of Professional and Continuing Studies.

Article by Jawanza Ali Keita
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